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                       Exhibit 6
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             U N I T E D S T A T E S DISTRICT C O U R T
             E A S T E R N DISTRICT OF N E W YORK

            C O U R T N E Y LINDE. et al..

                                        Plaintiffs.                         04 CV 2799 ( N G K A S C )

                                - asainst -                                 D E C L A R A T I O N OF
                                                                            S H U K R Y B I S H A R A IN S U P P O R T
                                                                            OF D E F E N D A N T ' S M O T I O N T O
            A R A B BANK pic                                                DISMISS

                                       Defendant.

                                                                   -X

                                Shukry Bishara declares under penalty of perjury:

                                I.     I am the Chief Banking Officer of Arab Bank pic (the "Bank"), the

            defendant in the above-captioned action, arid am resident at the B a n k ' s headquarters in A m m a n .

            Jordan.     I submit this declaration in support of the B a n k ' s motion to dismiss the First Amended

            Complaint on the grounds of          forum   non   conveniens     and on other grounds.       The sections of this

            declaration are as follows:

                      Section                                                                      Pane

                      Preface                                                                      2

                   Personal Background                                                             2

                   History of Arab Bank                                                            4

                  The New York Branch                                                              5

                  Operating in Gaza and West Bank                                                  5

                  Role of the Arab League and the Saudi Committee                                 8

                  Payments By Other Banks and Organizations                                        10

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                  Policies and Systems                                                             1 1

                  Documents and Witnesses                                                          i ~>




                                                                                                                   JA1785
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                    Forum Non Conveniens       Consents

                    Conclusion

                                                            Preface

                           2.      I am told by our New York lawyers that this motion to dismiss must be

            made under certain rules which apply in United States Federal Courts. I understand that these

            rules require that the allegations in the Amended Complaint be accepted as true for purposes of

            the motion and that factual information, documents, explanations and other evidence are not

            appropriate at this stage of the proceedings.

                           3.      However, for personal reasons of my own and as the person w ho re-opened

            Arab B a n k ' s branches in Palestine, developed its business in the areas, implemented its policies

            and set out its strategy. I cannot allow the first submission from the Bank to be put into this

            Court without addressing the terrible and untrue allegations leveled against the Bank in this case.

                           4.      I understand that the Court is likely to not consider my c o m m e n t s for

           purposes of deciding the B a n k ' s motion to dismiss. Nevertheless. 1 h a \ e insisted with our

           lawyers and I feel that I must, at least briefly, address these issues. 1 respectfuilv ask the Court's

           indulgence in this respect.

                                                 Mv Personal Background

                          5.      1 was born in Jerusalem in 1947. 1 attended high school and graduated

           from the Christian Brothers in Jerusalem. Thereafter, in 1972 1 received a Bachelor of Arts

           Degree in Economics from the American University in Beirut. I received a Master's Degree in

           Economics from University College London in 1973.

                          6.      I began m\ professional career at Midland Bank (U.K..). I then moved to

           Fidelity Bank (now part of the Wachovia Banking Group) in Philadelphia. Pennsylvania.

           In 1974. I was transferred to New York and later to London, still with Fidelity, until 1979 when I

           moved to Paris to establish Arab B a n k ' s operations there.




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                           7.      I was the General Manager of Arab B a n k ' s operations in France from 1979

            - 1994. In addition. I was the Regional Manager for Southern and Central Europe, as

            well as North Africa. During this period. 1 w as responsible for the opening of our offices in New

            York (1982) and Singapore (1983).

                           8.     In 1993. upon hearing of the potential breakthrough in peace initialis es and

            progress of settlement of Israeli-Arab issues set out in the Oslo Accords. I offered to take charge

            of the Bank's reopening of branches in Gaza and the West Bank ( " G W B " ) . 1 was well aware of

            the complications and challenges of setting up the branches operating in Palestine during those

            transitional years, but I could imagine no more exhilarating a challenge in my career. In the

            midst of the peace process between the Israelis and the Palestinians. I welcomed the opportunity

            to personally participate in the development process of the economic infrastructure in Gaza and

            the West Bank, and to take part in the transfer of best practices and know -how to the region.

                          9.      I moved from Paris to Ramallah to oversee the resumption of Arab B a n k ' s

            operations in G W B where w e presently enjoy a leading market share in excess of 50° o of the

            banking activities carried out there by approximately 22 branches. I held that position from

            1994-2002.

                          1 0.    One of the most exciting moments of my tenure in this position was the

           licensing ceremony of our first branch in Nablus in N o v e m b e r 1994. At the ceremony, the

           Israeli commanding officer in the Palestinian territories at that time welcomed Arab Bank back

           into G W B and expressed his sincere wishes for success in our endeavors there.

                          11.    In February 2002. I was called to headquarters in A m m a n and was

           promoted to the position of Chief Banking Officer, which 1 still presently hold. In this capacity.

           I am in charge of and responsible for Arab B a n k ' s global banking activities, including

           commercial lending, as well as corporate and institutional operations.




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                                                    History of Arab Bank

                             12.     Arab Bank was founded in Jerusalem on July 14. 1930 by Abdul Hameed

            Shoman. Arab B a n k ' s development and growth are inevitably tied to the political and social

            context of the history of the Middle East for the last century.

                             13.     From 1960 forward, the Bank began to develop its services to other parts of

            the world beyond the Middle East. We were the first Arab financial institution to establish a

            presence in Switzerland and we opened branches in many parts of the w orld, including London.

            Paris. Italy. Singapore and Greece.

                             14.     During its history. Arab Bank faced many challenges. As a result of

            political and unforeseen events, such as the Israeli-Palestinian conflicts and the nationalization of

            branches in countries such as Egypt. Syria. Libya. Iraq and Sudan, the Bank lost its presence in

            various countries. Howev er, the Bank has continued to meet-such challenges and m o v e forward

            in spite of all the difficulties.

                            15.     Indeed in spite of the fact of not being legally responsible to its customers

            for the deposits lost as a result of the above referred events, the Bank always, truthful to its

            tradition and high level of ethics, made up and honored its customers" trust and confidence by-

            reimbursing out of its headquarters and its own funds for all deposits lost by its customers

            without having any recourse towards third parties for indemnification. This approach to banking

            practices helped the Bank earn the trust and respect not only of its customers by also of the entire

            banking community .

                            16.     The Bank has consolidated assets of LSS32 billion. Its stock is publicly-

            traded on the A m m a n Stock Exchange. Today we have a presence in 30 countries on five

            continents and we employ 7300 people worldwide. Arab Bank is as much an international

            institution as it is a regional one.




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                                                  The New York Branch

                           17.    Arab B a n k ' s New York branch was established in 1982. It has 51

            employ ees, offers a full range of commercial banking services and is an activ e participant in the

            capital and money markets. It enjoys an excellent reputation in the United States especially for

            Middle East and North Africa related trade business. Deposits at Arab Bank are insured by the

            Federal Deposit Insurance Corporation (FDIC) and Arab Bank is regulated

           and supervised by the Board of Governors of the Federal Reserve System, the FDIC and the

           Office of the Comptroller of the Currency.

                          1 S.     I am aware that the plaintiffs have attempted to cause damage to the New

           York branch by reporting to our regulators the untrue claims and unfounded accusations

           contained in the Amended Complaint. I am also aware that we ourselves, in line with our

           general policy of keeping our regulators always aw are of any 'e-vent concerning our branch,

           informed the Office of the Comptroller of the Currency of this lawsuit and have kept them

           apprised of all developments.

                          1 9.    As a general policy. our Bank has alway s applied a v ery conservative and

           traditional approach to banking and has strived to apply the highest standards of compliance. As

           a result, we hav e consistently enjoy ed high ratings in general of all the banking regulatory

           agencies in the jurisdictions in which we operate, including those w hich are known to be anions

           the leading agencies, such as those of the U.S.. UK. France. Italy and Austria.

                                        Operating in Gaza and the West Bank

                         20.     Arab B a n k ' s operations in G W B are subject to the supervision and control

          of the Palestinian Monetary Authority and the Central Bank of Jordan. Pursuant to the Basel

          Accords, a financial institution operating in multiple jurisdictions will be subject to the

          supervisory authority of the other countries in which it operates, as well as its home country




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                           21.             In the initial period of our activities in G W B . we were also subject to the

           supervision of the Israeli Central Bank until the handing over of economic and banking activity

           in 1996 to the Palestinian Authority pursuant to the Economic Protocol under the Oslo Accords

           of 1993. The Oslo Accords provided for Israeli-Palestinian cooperation in economic and

           development programs, specifically:

                           cooperation in the field of finance, including a financial
                           development and action programme for the encouragement of
                           international investment in the West Bank and the Gaza Strip, and
                           in Israel, as well as the establishment of a Palestinian Dev elopment
                           Bank. (Oslo Accords. Annex 111) (emphasis added).'

                          22.          The Oslo Accords recognized the importance of investment in Palestine to

           the peace process. The Bank committed to help with that inv estment. A m o n g other projects, we

           partnered with the International Financial Corporation (of the World Bank) and the German

           government to establish a long-term development bank known-as the Arab Palestine Investment

           Bank. We worked with several U.S. entities to develop a major power project in the Gaza Strip

           and we participated in long-term projects in telecommunications and manufacturing. Also, the

           Bank became a founding shareholder in the USS172 million Palestine Development Investment

           Company (PADICO). which was established to help rev italize the Palestinian economy .

                          23.          From the very beginning. Arab Bank strategically identified the potential

           bottom-up growth for the local economy . For this reason. Arab Bank partnered with a number of

           specialized non-governmental organizations ( N G O ' s ) including U S A I D . 1FC. O X F A M .

           A N E R A . C A R I T A S . Save the Children Fund. Catholic Relief Serv ices. CI IF and DEG that all

           support the dev elopment of micro, small and medium-sized businesses. The dedicated serv ices

           of Arab Bank and success in the deliverv of these p r o g r a m m e s are recognized bv all of the above




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                           24.    Owing to its reputation for ethical standards and reliability. Arab Bank has

            emerged as the main vehicle for the payments by the international donor community , especially

            the European Union. World Bank and mainstream Arab gov ernments. Although the Bank is a

            non-poiitical entity , it has a vested interest that the peace process should succeed and contrary to

            the implicit allegations in the Amended Complaint. Arab Bank has absolutely no motiv e to see

            the peace process derailed.

                          25.     Since 1996. the Israeli Central Banking Authority supervisory role in G W B

            was officially transferred to the Palestinian Monetary Authority. Nevertheless, the Israeli

           authorities maintain indirect monitoring of the Arab B a n k ' s activities through the flow of

           physical (cash bank notes) transfers of funds in and out of G W B . which are subject to the pre-

           approval and clearance by the Israeli security authorities.

                          26.     In addition, and given Israel's strategic and close interest in fighting

           terrorism and its right to pursue such activities in G W B . as also expressed in the Oslo Accords. I

           am confident that had the Israeli authorities found any activ ities of the Bank to be engagement in

           aiding and abetting terrorism, as alleged in the Amended Complaint, they would have acted to

           prevent such activities, as they have done in many other cases. The fact that we have and

           continue to have business relations and transactions with Israeli banks reflects, in my opinion,

           the Arab Bank's professional and unstained goodw ill in Israel.

                          27.    Arab Bank enjoy s a highly professional relationship with its Israeli

           counterparts, which is one of full cooperation and mutual respect. As the official currencies in

           effect in G W B are Israeli Shekels. Jordanian Dinars and U.S. dollars. Arab Bank is regularly

           engaged in transactional and corresponding relationship with its Israeli counterparts. In addition.

           Arab Bank maintains a professional relationships with the Israeli authorities as it handles tnanv

           of the payments made bv the Israeli authorities to the Palestinian Authoritv.




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                                              Role of the Arab League and the Saudi C o m m i t t e e

                                    28.       Since the Oslo Accords, there were several attempts to finalize a true and

                lasting peace between Palestinians and Israelis. Amongst the key milestones was the Wye River

                Memorandum in October of 1998. entered into by President Clinton. Yaser Arafat and Benjamin

                Netanyahu, which provided, inter alia, that "the Israeli and Palestinian sides reaffirm their

                commitment to enhancing their relationship and agree on the need to actively promote economic

                development in the West Bank and Gaza." The M e m o r a n d u m also provided that:

                                    the tw o sides agree on the importance of continued international
                                    donor assistance to facilitate implementation by both sides ot
                                    agreements reached. They also recognized the need for enhanced
                                    donor support for economic development in the West Bank and
                                    Gaza. They agree to jointly approach the donor community to
                                    organize a Ministerial Conference ... to seek pledges for enhanced
                                    levels of assistance. (Wye River M e m o r a n d u m . Section III)
                                    (emphasis added)."

                                    29.       In addition, in 2002-03. representatives from the United States, the

                European Union, the United Nations and Russia ("the Quartet") proposed a " R o a d m a p " for

I               peace, w hich re-emphasized the vital importance of improving:

                                    the humanitarian situation and prospects for economic development
                                    in the West Bank and Gaza and [initiating] a major donor assistance
                                    effort. (Roadmap. Phase I) (emphasis added)/'

*                                   30.       Bv 2000. the process contemplated bv the Oslo Accords had not been

                completed. Ariel Sharon v isited the Al-Aqsa Mosque in September of 2000 and as a result, a

                second Intifada began causing economic deterioration in G W B . U n e m p l o y m e n t was rising.

*               foreign investments diminished considerably and violence between the two parties was on the

                rise and manv innocent people were killed or injured. The Intifada continues to this day. 4


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                :
                          Attached hereto as Ex. 2.
                          Attached hereto as Ex. 3.
                "         T h e word Intifada did not originally mean insurrection or rioting w ith \ iolence. 'I cchnicull)- il means an
                uprising, a mov ement toward s o m e rational goal. It has. u n i b r t u n a t c h . c o m e to mean an armed uprising of Palestinians
                against Israeli occupation of the West Bank and Gaza Strip.


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                                      31.          At a meeting in Cairo in October of 2000, the Arab League recognized, as

            had the peace negotiators before it. that economic and humanitarian circumstances prevailing in

            G W B were worsening as a result of the hardships and difficult circumstances suffered by the

            civilian population." It agreed to "put in place an operating mechanism" to support and alleviate

            the civilian population's hardships.

                                     32.          As a result, the Arab League resolved to create two funds to support

            humanitarian efforts and economic developments in Palestine.

                                     33.          It also called upon the member states to find new and flexible mechanisms

            that would ensure the availability of funds, in response to w hich a committee was created in

            Saudi Arabia (later on to be called the Saudi Committee Relief for the Palestinian People). 0

            Pay ments w ere made to thousands of unemployed Palestinians, persons in hospitals. Palestinians

            that were wounded or injured during the violence, persons whose houses were destroyed, as well

            as pay ments to Palestinian schools, hospitals and infrastructure in general.

                                    34.          Plaintiffs characterize the w ork of this Committee as designed to encourage

            terrorism. Nothing could be further from the truth. The Arab L e a g u e ' s goals and the

            C o m m i t t e e ' s goals w ere to counter unemployment and generally alleviate the suffering of the

           civilian population.

                                    35.          Obviously all this aid from the Saudi Committee had be channeled to the

           G W B through banking networks.

                                    36.          Beginning in December of 2000. the Saudi Committee made approximately

           200.000 payments into Palestine through Arab Bank branches totaling over USS90.000.000. The

           payments were made to institutions and individuals alike.

                                    37.          The allegations in the Amended Complaint regarding our conspiracy with

           the Saudi Committee to encouraae suicide bombers and reward their families for their deaths are


            Attending t h e C a i r o S u m m i t were r c p r e s c n t a t h cs> f r o m K u w a i t . L e b a n o n . L i h s u . KLIMVU Saudi A r a b i a . M a u r i t a n i a and




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                completely false and untrue. 1 cannot imagine more horrible accusations to tarnish our

                reputation.

                                             Payments bv Other Banks and Organizations

                                 38.      The Arab League is not the only entity that giv es money to the Palestinians

                in order to relieve suffering, unemployment and support a devastated economy .

                The donor community is made up of many contributors, such as the United Nations

                Development Program. European Union. Arab Monetary Fund. French Development Agency .

                Italian government. World Bank and USA1D. A substantial amount has been paid into G W B

               through various banks, including Arab Bank, as well as various Israeli banks.

                                 39.      While the Intifada continues and while there is conflict and violence

                between the Israelis and the Palestinians, humanitarian organizations contribute and will

1
                continue to contribute funds. Palestine cannot survive d u r i n g these times w ithout donor support.

                                 40.      There are numerous other examples of humanitarian aid. charitable

               contributions and other assistance to countries going through violent conflict. For instance, non-
)

                partisan world humanitarian organizations hav e supported victims of violence in Afghanistan.

                Darfur. Sudan. Cambodia. Bosnia and Ivory Coast.


>                                                            The Beirut Account

                                 41.      The Amended Complaint falsely claims: -'Arab Bank knowingly provides

                banking serv ices to H A M A S directly through its Al-Mazra Branch Account ~ 3-810-622473-

^               0330 in Beirut." Am. Compi. Para. 345. This is not true. It is inconceiv able that we would open

                an account for H A M A S w hether in Beirut or in any of our branches.

                                 42.      The Amended Complaint refers to account number 3-810-622-473-0330 in

b              Arab Bank El-Mazra branch. Lebanon as a main account used to fund terrorism. We have



                Yemen.
                         Royal Decree No. (8636). dated 18-7-1421 A-l 1.




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             investigated this account and our findings were that this account, which had a balance of USS

             8000. had been opened by an individual and has been dormant for the past three y ears.

                           43.     We also discovered that unknown to the Bank, as plaintiffs claim, that this

            account number was used on a website that plaintiffs allege is a H A M A S website. U p o n

            confirming that this account was at some time available on a website alleged to belong to

            H A M A S , a fact that the Bank was unaware of. the Bank closed this account, froze the balance of

            its funds and reported it to the appropriate authorities.

                         Policies and Systems To Prevent Monev Laundering and Terrorism

                           44.    The Bank is at the forefront of preventing money-laundering and terrorist

            financing. It employ s complex, sophisticated and state of the art softw are programs, commonly

            known as •"filters." which are designed to identify terrorists and terrorist organizations and to

            detect suspicious patterns of financial activity.

                           45.    Arab B a n k ' s supervisory authority is the Central Bank of Jordan. In

            addition. Arab Bank is supervised by the regulatory authorities in all the countries where it

            operates. A m o n g the main regulatory authorities w ith oversight ov er the operations in Arab

            Bank branches are: Office of the Comptroller of the Currency in the U.S.. the Financial Services

            in the United Kingdom, and the Commission Bancaire in France. As a matter of general policy ,

            the Bank deliberately applies the strictest of the rules as set out by the various regulators. Arab

            Bank is in good standing and highly regarded by the various regulatory bodies in question.

                          46.     Our headquarters office in A m m a n maintains state of the art sy stems to

            prevent any money-laundering or terrorist activity and coordinates with the Central Bank oJ"

            Jordan in that regard. Jordan has severe penalties for money laundering, pursuant to Anti-Monev

            Laundering Regulations in Jordan No. 10 for the year 2001 issued by the Central Bank of Jordan

            under Section 99 'R of the Rnnkin<» I :m




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                           47.      In order to counter terrorist financing transactions. Arab Bank applies the

            Office of Foreign Assets Control's list (the " O F A C list"), as well as local lists developed by the

           jurisdictions in which the Bank operates.

                           48.      The B a n k ' s compliance is of the highest technical quality.

                           49.      The Bank enjoys an excellent rating from independent and internationally

           recognized agencies, such as M o o d y ' s Investors Service. M o o d y ' s has described Arab Bank as

           - o n e of the most prominent and well-known banking institutions in the banking world."

           M o o d v ' s say s that its rating is based, among other things, on the B a n k ' s "preparedness to deal

           with catastrophic events and its long-standing track record of surviv ing wars, nationalizations,

           and economic crises." 8 Moody 's adds, "in a region with a history of political and economic

           uncertainties ... Arab Bank is recognized as the flight-to-quality bank in the Middle East.""

                           50.      Independently of any regulatory requirements, the Bank has been at the

           forefront of creating and implementing strict standards on its ow n.

                                                     Documents and Witnesses

                           51.      Arab B a n k ' s documents that may be relevant to this case are located in four

           places: A m m a n . Ramallah. New York and Beirut. ' I would say that more than 9 5 % of the

           documents are in A m m a n : about one-half of them are in Arabic.

                           52.      With regard to witnesses. I would estimate now that Arab Bank has

           approximately 12 employees, in addition to myself, who have knowledge of the subject matter in

           this case. Most of the witnesses are in the B a n k ' s headquarters in A m m a n with only one or

           perhaps two w itnesses in New York and one in Ramallah.




                  M o o d y ' s Analysis. D e c e m b e r 2003. pg. 1. attached hereto as L \ . 4.
                  M o o d > ' s Credit Opinion. February 2 0 0 4 . pgs. 1-2. attached hereto as l \ v 5.
                  See Ex. 4 at pg. 2.
                  Ramallah is the headquarters center lor CiWB and is located in the West Bank, about 4i> miles from A m m a n .




                                                                                                                        JA1796
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                            53.       As appears below, even though most of the documents and witnesses are in

             A m m a n , to remove any doubt, the Bank will agree to produce any relevant documents and

             witnesses in an action in Jordan if this case is dismissed for forum non       conveniens.

                                                Forum Non Conveniens       Consents

                            54.       1 am informed that certain conditions must be fulfilled in order for an

            action to be dismissed on the grounds of forum non conveniens.          1 have set forth below certain

            consents that I understand are necessary to satisfy those requirements. I am the person

            authorized to give such consents on behalf of the Bank.

                            55.       In connection with the motion to dismiss on the grounds of forum non

            conveniens.   Arab Bank hereby agrees to consent to:

                                  (a) the jurisdiction of the Jordanian courts in any action filed b> plaintiffs
                                      alleging the same or similar claims asserted in the A m e n d e d Complaint:

                                  (b) the application of U.S. law in such action, including, w ithout limitation,
                                      the statute known as the Anti-Terrorism Act. 18 U.S.C. Section 2331. et
                                      seq.:

                                  (c) produce any relevant documents and witnesses in such action:

                                  (d) waive any statute of limitations or other lime limit defense for bringing
                                      suit in such action: and

                                  (e) pay plaintiffs three times the amount of d a m a g e s and reasonable attorney's
                                      fees in such action.

                                                            Conclusion

                           56.       This law suit is made up of false claims. Arab Bank is an honorable and

            reputable commercial enterprise that has served its customers in the Middle East and throughout

            the world for 75 years. It has always been conscious of its obligations to conduct safe, sound and

            prudent banking in all jurisdictions in w hich it operates.

                           57.       For myself personally and on behalf of the Bank. 1 wish to state

           unequivocally that I reject violence for any purpose, political or otherwise. Plaintiffs allegations

           are unfair and untrue: thev seek to exploit the current worldw ide fear of terrorism.




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